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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

TOMMIE HAMPTON,

Plaintiff,

No. 04-2537 Ml/An
CITY OF MEMPHIS, TENNESSEE,

L. McNair, Individually and in
his Official Capacity,

C. Teeters, Individually and in
his Official Capacity,

B. Holland, Individually and in
his Official Capacity, and

F. Boyce, Individually, and in
his Official Capacity,

Defendants.

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ORDER GRANTING IN PART AND DENYING IN PART THE MOTION TO DISMISS OF
DEFENDANT CITY OF MEMPHIS, and
ORDER GRANTING IN PART AND DENYING IN PART THE MOTION TO DISMISS OF
DEFENDANTS MCNAIR, TEETERS, HOLLAND AND BOYCE

 

Before the Court is the Motion to Dismiss Plaintiff’s First
Amended Complaint of Defendant City of Memphis, filed November 19,
2004. Also before the Court is the Motion to Dismiss Plaintiff's
First Amended Complaint of Defendant Officers McNair, Teeters,
Holland and Boyce (“Defendant Officers”), filed November 24, 2004.
Plaintiff responded in opposition to both of these motions on

December 28, 2004.1

 

‘ Defendant City of Memphis originally filed a Motion to

Dismiss on Auqust 24, 2004, to which Plaintiff responded in
opposition on September 20, 2004. The Defendant Officers

originally filed a motion to dismiss on October 6, 2004,
(Continued...) //"\\\
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I . BACKGROUND

The instant case arises out of a high-speed automobile chase
involving members of the Memphis Police Department that resulted in
an accident between the party being pursued and the Plaintiff,
Tommie Hampton. Plaintiff asserts claims against Defendant City of
Memphis and the Defendant Officers under 42 U.S.C. § 1983 as well
as Tennessee law.

According to the allegations in Plaintiff's First Amended
Complaint, at approximately 8:06 a.m. on the morning of July 16,
2003, Memphis Police Department Officers McNair and Teeters were
stationed in unmarked police vehicles at or near the Wal~Mart store
at 3950 Austin Peay in Memphisr Tennessee. At that time, the
officers observed a man running from the Wal~Mart store followed by
an employee of the store, who was yelling for him to stop. The man
who was running then entered a Ford Explorer and exited the lot,
heading southbound on Austin Peay. At that time, “these officers
began a high speed pursuit of the subject southbound on Austin Peay

to southbound on Old Austin Peay, then westbound on Stage; then

 

(...continued)

incorporating the arguments in Defendant City of Memphis's motion
to dismiss, to which Plaintiff responded on November 5, 2004.
Plaintiff filed his First Amended Complaint on November 5, 2004.
In their motions to dismiss Plaintiff's First Amended Complaint,
all Defendants incorporate their original motions to dismiss. On
March 9, 2005, the Court DENIED as moot Defendants’ original
motions to dismiss. The Court in this order has considered the
arguments raised in the parties'r original submissions as well as
their submissions relating to Plaintiff's First Amended
Complaint.

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southbound on Jacksonr then westbound on 1-240.” (Pl.’s First Am.
Compl. l ll(b).)

During the chase, the officers radioed for assistance in
pursuing the suspect. Officers Holland and Boyce, each driving
marked Memphis Police Department vehicles, joined the chase. At
some point, the suspect’s vehicle entered the exit ramp of
lnterstate 240 approaching Warford St. The suspect then made a u-
turn to avoid the pursuit and proceeded eastbound on the westbound
ramp, passing Defendant Officers Teeters and McNair and veering at
Defendant Officers Holland and Boyce, causing them to steer out of
his path to avoid a collision.

The suspect’s vehicle continued going the wrong direction on
the exit ramp as Defendant Officers Holland and Boyce began to turn
around to continue the chase. At some point, the suspect’s vehicle
struck Plaintiff’s vehicle head-on as Plaintiff exited the
interstate, causing Plaintiff to suffer serious personal injuries.

Plaintiff alleges in his First Amended Complaint that the high
speed pursuit engaged in by Defendants was done without permission
or authorization of supervising officers in the Memphis Police
Department, without using emergency lights or sirens, without the
pursuing officers having had probable cause to believe that the
person being pursued had committed a violent felony, and with more
than two vehicles being involved in the pursuit - all of which are
allegedly contrary to the policies and procedures adopted by the

Memphis Police Department for vehicular chases.

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Defendants move to dismiss Plaintiff’s First Amended Complaint
pursuant to Federal Rule of Civil Procedure l2(b)(6) because it
purportedly fails to state a claim upon which relief may be
granted, and alternatively move the Court to decline to exercise
supplemental jurisdiction over Plaintiff's state law claims.

II. STANDARD OF REVIEW

A defendant may move to dismiss a claim “for failure to state
a claim upon which relief can be granted” under Federal Rule of
Civil Procedure l2(b)(6). When considering a l2(b)(6} motion, a
court must treat all of the well-pleaded allegations of the
complaint as true. Savlor v. Parker Seal Co., 975 F.2d 252, 254
(6th Cir. 1992). Furthermore, the court must construe all of the
allegations in the light most favorable to the non-moving party.
Scheuer v. Rhodes, 4l6 U.S. 232, 236 (l974). “A Court may dismiss
a [claim under 12(b)(6)] only if it is clear that no relief could

be granted under any set of facts that could be proved consistent

 

with the allegations.” Hishon v. King & Spaldinq, 467 U.S. 69, 73
(1984). When a party relies on matters outside of the pleadings, a
motion to dismiss must be treated as one for summary judgment. See

Fed. R. Civ. P. lZ(b).
III. ANALYSIS

Defendants move to dismiss the claims in Plaintiff’s First
Amended Complaint. The Court will address Plaintiffs' federal and
state law claims in turn as to Defendant City of Memphis and the

Defendant Officers.

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A. 42 U.S.C. § 1983

Plaintiff alleges in his First Amended Complaint that
Defendants are liable to him under 42 U.S.C. § 1983 because they
violated his rights under the Fourth and Fourteenth Amendments to
the United States Constitution. Section 1983 does not create
substantive rights, but rather serves as a “method for vindicating
federal rights elsewhere conferred.” Baker v. McCollan, 443 U.S.
137, 144, n.3 (1979). To establish a prima facie case under §
1983, a plaintiff must prove two elements: (1) that the government
action occurred “under color of law” and (2) that the action is a
deprivation of a constitutional right or federal statutory right.
Parratt v. Tavlor, 451 U.S. 527, 535 (1981); Block v. Ribar, 156
F.3d 673, 677 (6th Cir. 1998). “The first step in any such claim
is to identify the specific constitutional right allegedly
infringed.” Albridht v. Oliver, 510 U.S. 266, 271 (1994).

A municipality may be held liable under § 1983 if the
municipality itself caused a constitutional deprivation. Mgn§ll_y;
Dep't of Soc. Servs. of New York, 436 U.S. 658, 690 (1978). Before
a local governmental unit can be held liable for injuries pursuant
to § 1983, “a plaintiff must show that his injuries were the result
of some ‘policy or custom' attributable to the governmental
entity.” Leach v. Shelbv Countv Sheriff, 891 F.2d 1241, 1245 (6th
Cir. 1989) (guoting Monell, 436 U.S. at 690). A municipality is
not liable under § 1983 for an injury inflicted solely by its

employees or agents, but rather only when the "execution of the

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government's policy or custom ... inflicts the injury." City of
Canton v. Harris, 489 U.S. 378, 385 (1989). Further, the

governmental entity is liable under § 1983 only when the entity
itself is a “moving force” behind the deprivation of constitutional
rights. Kentuckv v. Graham, 473 U.S. 159, 166 (1985).

The “first inquiry in any case alleging municipal liability
under § 1983 is the question whether there is a direct causal link
between a municipal policy or custom and the alleged constitutional
deprivation.” Monell, 436 U.S. at 690. Moreover, the policy or
custom must evidence deliberate indifference on the part of the
municipality. Monell, 436 U.S. at 388 (“Only where a
municipality’s failure to train its employees in a relevant respect
evidences a ‘deliberate indifference’ to the rights of its
inhabitants can such a shortcoming be properly thought of as a city
‘policy or custom’ that is actionable under § 1983.”)

1. Fourth Amendment

Defendants contend that Plaintiff cannot maintain a § 1983
action with respect to rights asserted under the Fourth Amendment
in this case. The Fourth Amendment is not implicated in police
pursuit claims. See Countv of Sacramento v. Lewis, 523 U.S. 833,
843*44 (1988)(finding a police pursuit does not amount to a
“seizure” under the Fourth Amendment); See also California v.
Hodari D., 499 U.S. 621, 626 (1991). Accordingly, Defendants’

motion to dismiss Plaintiff's § 1983 claim with respect to rights

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asserted under the Fourth Amendment is GRANTED and Plaintiff’s §
1983 claim as it relates to the Fourth Amendment is DISMISSED.
2. Fourteenth Amendment
Defendants next assert that Plaintiff's First Amended

Complaint fails to state a claim under § 1983 for deprivation of
his rights under the Fourteenth Amendment. A claim may be properly
brought under the Fourteenth Amendment for an injury resulting from
a police pursuit to a person who was not the intended target of the

pursuit. See generally Lewis, 523 U.S. 833. To prevail on such a

 

claim against the Defendant Officers, the plaintiff must prove that
the Defendant Officers' conduct “shocks the conscience.” ld; at
846-55.

A municipality may, in turn, be held liable under 42 U.S.C §
1983 if a constitutional violation by the individual officers
involved in the incident is established. §§§ Parratt, 451 U.S. at
535; §lgg£, 156 F.3d at 677. Therefore, Plaintiff may assert a
claim against Defendant City of Memphis if it is established that
the Defendant Officers committed a constitutional violation.

Defendants contend that Plaintiff's § 1983 claim against the
Defendant Officers should be dismissed because their conduct was
not so severe as to “shock the conscience.” However, treating all
of Plaintiff’s well-pleaded allegations as true and construing all
of the allegations in his favor, the Court finds that Plaintiff has

sufficiently alleged conduct by the Defendant Officers that “shocks

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the conscience.”2 Accordingly, the Defendant Officers' motion to
dismiss Plaintiff’s § 1983 claim as it relates to rights under the
Fourteenth Amendment is DENIED.

Defendant City of Memphis contends that Plaintiff’s § 1983
claim against it should be dismissed because Plaintiff's First
Amended Complaint fails to state a claim against the Defendant
Officers. However, the Court has found that Plaintiff has
sufficiently alleged a § 1983 claim against the Defendant Officers.
Moreover, treating all of Plaintiff’s well-pleaded allegations as
true and construing all of the allegations in his favor, Plaintiff
has sufficiently alleged a § 1983 claim against Defendant City of
Memphis. Accordingly, the motion to dismiss of the City Memphis as
it relates to Plaintiff’s § 1983 claim asserting rights under the
Fourteenth Amendment is DENIED.

B. Tennessee State Law

Plaintiff asserts claims of negligence under Tennessee Law
against all Defendants, and a claim of willful and/or malicious
conduct against the Defendant Officers. Defendants move to dismiss
these claims or, in the alternative, move the Court to refuse to

exercise jurisdiction over the state law claims.

 

2 Defendants contend that Terrell v. Larson, 396 F.3d 975,
981 (8th Cir. 2005), supports the premise that whether a
municipal defendant's conduct “shocks the conscience" is a
question of law for the judge to decide. Accepting that premise,
the Court determines that Plaintiff has sufficiently alleged
facts which, if established as true, “shock the conscience.”

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ln his First Amended Complaint, Plaintiff alleges that
Defendant City of Memphis was negligent in failing to adequately
supervise or train its police officers to avoid the conduct that
caused Plaintiff’s injuries. Defendant City of Memphis contends
that the Tennessee Governmental Tort Liability Act (“TGTLA”)
immunizes it from liability for “discretionary acts” relating to
the training and supervision of its police officers.3
The TGTLA generally waives governmental immunity from suit for
injuries proximately caused by a negligent act or omission of a
government employee within the scope of his or her employment.
Tenn. Code Ann. § 29-20-205. However, the TGTLA provides for
governmental immunity for “discretionary functions,” as follows:
lmmunity from suit of all governmental entities is
removed for injury proximately caused by a negligent act
or omission of any employee within the scope of his
employment except if the injury arises out of:
(l) the exercise or performance or the failure to
exercise or perform a discretionary function, whether or
not the discretion is abused
Tenn. Code Ann. § 29-20-205(1). Defendant City of Memphis contends
that it is entitled to immunity under Tenn. Code Ann. § 29-20-
205(1) because the acts which provide the basis for its alleged
liability are discretionary functions. In particular, Defendant

City of Memphis contends that its supervision and training of its

police officers involves a balancing of policy considerations and

 

3In their motions, the Defendant Officers rely upon the
memoranda submitted by the City of Memphis. Accordingly, the
Court’s analysis applies to all Defendants.

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therefore constitutes a discretionary function. See Bowers v. Citv
of Chattanooga, 826 S.W.Zd 427 (Tenn. 1992).
ln Bowers, the Tennessee Supreme Court adopted the planning-
operational test to provide guidance regarding the scope of the
discretionary function exception. Bowers, 826 S.W.2d at 430-31.
“Under the planning-operational test, decisions that rise to the
level of planning or policy-making are considered discretionary
acts which do not give rise to tort liability, while decisions that
are merely operational are not considered discretionary acts and,
therefore, do not give rise to immunity.” ld. at 430. The
Tennessee Supreme Court further explained that:
[A] decision resulting from a determination based on
preexisting laws, regulations, policies, or standards,
usually indicates that its maker is performing an
operational act. Similarly operational are those ad hoc
decisions made by an individual or group not charged with
the development of plans or policies. These operational
acts, which often implement prior planning decisions, are
not “discretionary functions” within the meaning of the
Tennessee Governmental Tort Liability Act. In other
words, “the discretionary function exception [will] not
apply to a claim that government employees failed to
comply with regulations or policies designed to guide
their actions in a particular situation.”

Bowers, 826 S.W.Zd at 431 (citation omitted).

To the extent that Plaintiff alleges that Defendant City of
Memphis is liable for the formulation and institution of a police
pursuit policy, such an activity is considered policy-making and is
within the discretionary acts immunized by Tenn. Code Ann. § 29-20~

205(1). However, Plaintiff contends that Defendant City of Memphis

is liable because the Defendant Officers' implementation or failure

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to adhere to the policy was negligent and the failure of Defendant
City of Memphis to properly train, supervise, and enforce the
implementation of the policy was negligent. Such acts are merely
considerations made under an existing policy and do not implicate
planning or policymaking. Therefore, Plaintiff’s claims against
Defendant City of Memphis do not concern discretionary functions
and Defendant City of Memphis is not entitled to immunity under
Tenn. Code Ann. § 29-20-205(1).4 Accordingly, Defendants’ motions
to dismiss Plaintiff’s claims pursuant to Tenn. Code Ann. § 29-20-
205(1) are DENIED.

C. Jurisdiction Over Plaintiff's State Law Claims

Defendants move, in the alternative, that the Court decline to
exercise jurisdiction over Plaintiff’s state law claims pursuant to
its discretion under 28 U.S.C. § l367(c). The Court declines, at
this time, to exercise its discretion to remand Plaintiff’s state

law claims.

 

4in its motion to dismiss Plaintiff’s First Amended
Complaint, Defendant City of Memphis also contends that, under
Nevill v. City of Tullahoma, 756 S.W.Zd 226 (Tenn. 1998) and Gill
v. City of Church Hill, 156 S.W.3d 846 (Tenn. Ct. App. 2004),
Plaintiff may not assert a claim against Defendants because the
fleeing suspect was the proximate cause of his injury. However,
Nevill was overruled in 1994 by the Tennessee Supreme Court,
Havnes v. Hamilton Countv, 883 S.W.2d 606, 610 (Tenn. 1994), and
Gill merely stands for the premise that a fleeing suspect may not
bring a claim under Tennessee law against a municipal defendant
for injuries he suffered due to the police’s pursuit of him.

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III. CONCLUSION

For the foregoing reasons, Defendants' motions to dismiss are
GRANTED in part and DENIED in part. Defendants’ motions to dismiss
are GRANTED with respect to Plaintiff's § 1983 claims pursuant to
the Fourth Amendment, and DENIED with respect to all of Plaintiff's

remaining claims.

so oRDERED this 10 day of May, 2005.

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JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CV-02537 Was distributed by fax, mail, or direct printing on
May 16, 2005 to the parties listed.

EsSEE

 

Deborah A. GodWin

GODWlN MORRIS LAURENZI & BLOOl\/lFlELD, P.C.

50 N. Front St.
Ste. 800
1\/1emphis7 TN 38103

.1 oseph 1\/1. Rogers

HALE FOGLEMAN & ROGERS
108 Dover Road

P.O. Box 1666

West Memphis, AR 72303

Henry L. Klein

CITY ATTORNEY'S OFFICE
125 N. Main Street

Room 336

1\/1emphis7 TN 38103

Bobby F. Martin

GODWlN MORRIS LAURENZI & BLOOl\/lFlELD, P.C.

50 N. Front St.
Ste. 800
1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

